Case 4:11-cv-00149-JHM-HBB Document 77 Filed 09/03/14 Page 1 of 2 PageID #: 737
                                                                                              (1 of 2)



                                          Case No. 14-6059

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                               ORDER



 STATE AUTOMOBILE PROPERTY AND CASUALTY INSURANCE COMPANY

                Plaintiff - Appellee

 v.

 THERE IS HOPE COMMUNITY CHURCH, By and Through Its Pastor, Darrell Blacklock

                Defendant - Appellant



      Upon consideration of the appellant's motion to voluntarily dismiss the appeal herein

 pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

      It is ORDERED that the motion is GRANTED and the appeal is dismissed.

                                         ENTERED PURSUANT TO RULE 45(a),
                                         RULES OF THE SIXTH CIRCUIT
                                         Deborah S. Hunt, Clerk


 Issued: September 02, 2014
                                         ___________________________________
Case 4:11-cv-00149-JHM-HBB Document 77 Filed 09/03/14 Page 2 of 2 PageID #: 738
                                                                                                      (2 of 2)




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt               POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                         CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                          Filed: September 02, 2014




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                       Case No. 14-6059, State Auto Property & Ins Co v. There Is Hope
                 Re:
                       Church
                       Originating Case No. : 4:11-cv-00149

 Dear Counsel:

   The Court issued the enclosed Order today in this case.

                                          Sincerely yours,

                                          s/Leon T. Korotko
                                          Case Manager
                                          Direct Dial No. 513-564-7014

 cc: Ms. Vanessa L. Armstrong

 Enclosure

 No mandate to issue
